 B 2100A (Form 2100A) (12/15)



                          UNITED STATES BANKRUPTCY COURT
                                                   District of Arizona (Tucson)

In re Hoang Minh Thai,                                                                           Case No. 4:21-bk-08377-BMW


                     TRANSFER OF CLAIM OTHER THAN FOR SECURITY
A CLAIM HAS BEEN FILED IN THIS CASE or deemed filed under 11 U.S.C. § 1111(a).
Transferee hereby gives evidence and notice pursuant to Rule 3001(e)(2), Fed. R. Bankr. P., of the
transfer, other than for security, of the claim referenced in this evidence and notice.

Home Point Mortgage Acceptance Corporation                                   Home Point Financial Corporation
Name of Transferee                                                           Name of Transferor

Name and Address where notices to transferee                                 Court Claim # (if known): 9
should be sent:                                                              Amount of Claim: $475,980.40
                                                                             Date Claim Filed: January 7, 2022
Home Point Financial Corporation
9726 Old Bailes Road
Fort Mill, SC 29707

Phone: 855-998-3056                                                          Phone: N/A
Last Four Digits of Acct. #: 3798                                            Last Four Digits of Acct. #: 5866

Name and Address where transferee payments
should be sent (if different from above):

Home Point Financial Corporation
9726 Old Bailes Road
Fort Mill, SC 29707
Phone: 855-998-3056
Last Four Digits of Acct. #: 3798

I declare under penalty of perjury that the information provided in this notice is true and correct
to the best of my knowledge and belief.


By: /s/ Leonard J. McDonald #014228                                                              Date: July 25, 2022
    Leonard J. McDonald, Transferee’s Agent




 Penalty for making a false statement: Fine of up to $500,000 or imprisonment for up to 5 years, or both. 18 U.S.C. §§ 152 & 3571.



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 2   SEVENTH FLOOR CAMELBACK ESPLANADE II
     2525 EAST CAMELBACK ROAD
 3   P H O E N I X, A R I Z O N A 8 5 0 1 6
     TELEPHONE: (602) 255-6000
 4   FACSIMILE: (602) 255-0192
     Mark S. Bosco
 5   State Bar No. 010167
     Leonard J. McDonald
 6   State Bar No. 014228
     Attorneys for Movant
 7   ljm@tblaw.com
     22-05575
 8

 9                    IN THE UNITED STATES BANKRUPTCY COURT
10                             FOR THE DISTRICT OF ARIZONA
11
     In Re:                                           Chapter 11
12
     Hoang Minh Thai                                  Case No. 4:21-bk-08377-BMW
13

14                   Debtor                           CERTIFICATE OF SERVICE

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              I, Leonard J. McDonald, certify:
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              That on 25th day of July, 2022, I caused to be mailed a copy of the Transfer of Claim
19
     Other Than For Security, in reference to the above captioned matter, by U.S. Mail, postage
20
     prepaid, to the following interested parties:
21

22            Hoang Minh Thai
              12381 N. Mount Bigelow
23            Oro Valley, AZ 85755
              Debtor
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 1        Alan R Solot
          Law Office of Alan R. Solot
 2        6363 N. Swan
 3        Ste 200
          Tucson, AZ 85718
 4        Attorney for Debtor

 5        U.S. Trustee
          Office of the U.S. Trustee
 6        230 North First Avenue
 7        Suite 204
          Phoenix, AZ 85003
 8
          DATED this 25th day of July, 2022.
 9                                                Respectfully submitted,
10                                                TIFFANY & BOSCO, P.A.

11                                                By: /s/ Leonard J. McDonald #014228
12                                                        Mark S. Bosco
                                                          Leonard J. McDonald
13                                                        Attorneys for Movant
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                                              Important Legal Information
       Servicemembers Civil Relief Act
       The Servicemembers Civil Relief Act may offer protection or relief to military members who have been called to
       active duty. If either you have been called to active duty or you are the spouse, registered domestic partner,
       partner in a civil union, or financial dependent of a person who has been called to active duty, and you have not
       yet made us aware of your status, please contact Customer Service at 1-844-478-2622.

       Notices of Errors and Requests for Information
       You have certain rights under federal law related to resolving errors in the servicing of your loan or requesting
       information about your loan account. If you want to send a Notice of Error or a Request for Information as
       defined by federal law, it must be sent to our exclusive address
       ServiceMac
       PO Box 100077
       Duluth, GA 30096.

       HUD Counseling Information about Mortgage Counseling or Assistance
       For a list of HUD-approved housing counseling agencies that can provide free foreclosure prevention and debt
       management information, as well as translation or other language assistance, contact one of the following
       federal government agencies. The U.S. Department of Housing and Urban Development (HUD) at (800) 569-4287
       or www.hud.gov/counseling The Consumer Financial Protection Bureau (CFPB) at (855) 411-2372 or
       www.consumerfinance.gov/mortgagehelp

       Fair Debt Collection and Bankruptcy
       We may be considered to be a debt collector under certain state and federal laws. Accordingly, for the purposes
       of such laws, this communication is from a debt collector and is an attempt to collect a debt. Any information
       obtained will be used for that purpose. However, to the extent your original obligation has been discharged or is
       subject to an automatic stay under the United States Bankruptcy Code, this notice is for compliance and/or
       informational purposes only and does not constitute a demand for payment or an attempt to impose personal
       liability for such obligation.

       Successors in Interest
       A Successor in Interest is someone who acquires an ownership interest in a property secured by a mortgage loan
       by transfer upon the death of a relative, as a result of a divorce or legal separation, through certain trusts,
       between spouses, from a parent to a child, or when a borrower who is a joint tenant or tenant by the entirety
       dies. If you are a successor in interest, or you think you might be, please contact us by phone at 1-844-478-2622,
       mail at ServiceMac PO Box 100077 Duluth, GA 30096 or email at support@servicemacusa.com to start the
       confirmation process.

       State Disclosures
       Certain state disclosures are applicable based on the state in which the secured property is located.

       Arkansas
       ServiceMac, LLC is licensed in Arkansas and holds a combination mortgage banker-broker-servicer license
       (license #114665). A complaint concerning ServiceMac may be submitted to the Commissioner of the Arkansas
       Department of Securities.

       Americans with Disabilities
       Our company supports customers which require assistance due to hearing, speech or visual impairments.
       Specially trained relay agents will conduct the calls through TTY or verbally to hearing parties. If you are having
       difficulty reading this document, you may request that our Customer Care Specialists assist you by reading the
       letter content aloud to you in its entirety. Please contact a Customer Care Specialist on the phone number
       included on the front of this statement.




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